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                                     #:937


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 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
     JEANNIE MONARREZ, individually             Case No.: 2:21-cv-03596-JWH-PLA
12   and on behalf of other members of the
     general public similarly situated,         Hon. John W. Holcomb
13
                 Plaintiffs,
14                                              NOTICE OF LODGING
           vs.                                  [PROPOSED] ORDER GRANTING
15                                              PARTIES’ PROPOSED CASE
     CENTERRA GROUP, LLC, an                    SCHEDULE PER JOINT REPORT
16   unknown business entity; CENTERRA
     SERIVCES INTERNATIONAL, INC.,
17   an unknown business entity;
     WACKENHUT SERVICES, INC., an
18   unknown business entity; G4S
     GOVERNMENT SOLUTIONS, INC.,
19   an unknown business entity; and DOES
     1 through 100, inclusive,
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                 Defendants.
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                        NOTICE OF LODGING [PROPOSED] ORDER
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                                      #:938


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                                                                  CASE NO. 1:21-cv-03596-JWH-PLA
                         NOTICE OF LODGING [PROPOSED] ORDER
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 1         TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT
 2   COURT:
 3         PLEASE TAKE NOTICE that, pursuant to L.R. 5.1 and 5-4.4, Plaintiff
 4   Jeannie Monarrez (“Plaintiff”) hereby lodges the Parties’ [Proposed] Order Granting
 5   Parties’ Proposed Case Schedule per Joint Report (ECF No. 52).
 6

 7                                       Respectfully Submitted,
 8
     Dated: February 15, 2024
 9                                         /s/ Philippe M.J. Gaudard
                                          Carolyn Hunt Cottrell
10                                        Ori Edelstein
                                          Philippe M.J. Gaudard
11
                                          SCHNEIDER WALLACE
12                                        COTTRELL KONECKY LLP
13                                        Edwin Aiwazian
                                          Kenyon Harbison
14                                        Khachatur Chris Ourkhan
15                                        LAWYERS for JUSTICE, PC

16                                        Attorneys for Plaintiff and the putative Class
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                                              1                    CASE NO. 1:21-cv-03596-JWH-PLA
                        NOTICE OF LODGING [PROPOSED] ORDER
